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IN THE UNITED STATES DISTRICT C()URT

WESTERN DISTRICT oF TENNESSEE 05 gay - a Ptt 2= 99
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UNrrEr) sTArEs oF AMERICA, ) cites ~ 313 », §§ 1a ;S
) wit }. t;\{ inhaer
Plaintiff, )
vs. ) CRIM. NO.: 02-20165
)
AL MOSS, et al., )
)
Defendants
ORDER ON DISCOVERY

 

This matter was before the Court on April 15, 2005, for a status report at the request of the
defendants Upon the entirety of the record and the statements of counsel, the Court finds the
following:

(l) ln .luly of 1996, the FBI obtained and brought to the United States certain electronic
and other items seized front the business and warehouses of the defendants in Barbados, West lndies.

(2) The indictment in this matter Was unsealed in December of 2002. Irnlnediately after
their initial appearance, the defendants, through counsel, promptly filed requests for discovery With
the goverlnnent. The defendants have continued to request the production of discovery throughout
these proceedings

(3) The earliest discovery request Was made in Decernber of 2002, and as of April 15,
2005, the record reflects that the defendants, over the course of two years, have made twenty (20)
specific requests for discovery from the govermnent, to include copies of all electronic material

seized or obtained by the government from Barbados, Australia, and elsewhere [Doclcet No. 425

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at E)thibits A & B; Docl<et No. 486 at Exhibit A].'

(4) The government’s responsive letters have generally denied most of the specific
requests for discovery, yet the govennnent stated that there are numerous boxes of documents in the
office of the FBI in Memphis that might be introduced by the government at trial and are available
for review and copying by the defense The record reflects that there are approximately 200 boxes
of discoverable documents related to this case, and that to date the defendants have copied, at their
expense, approximately 40 of the boxes.

(5) The initial discovery responses of the government in January and March of 2003 do
not mention the electronic or other materials seized in Barbados and brought back to the United
States. The record reflects that the government did send a responsive letter on April 14, 2003, to a
discovery request for evidence seized from Barbados, and the letter states that Barbadian law
enforcement agents were assisted by FBI agents in the 1996 search However, the responsive letter
does not mention the vohuninous electronic materials and copies of documents brought back to the
United States in 1996 by the FBI from Barbados.

(6) At a status conference on July 29, 2004, the Court orally instructed the parties to
resume discovery, and specifically suggested that the discovery process was to be conducted in a
manner that facilitated the most expeditious use of resources in getting the case prepared for trial.

(7) ln August and September of 2004, defense counsel reiterated prior requests for
discovery, including the request for a copy of any electronic materials seized and brought back to

the United States from Barbados. The govermnent’s response to these requests was, once again, that

 

‘ These pleadings contain the discovery correspondence between the defense and the
government from December of 2002 to April 15, 2005.

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the defendants could review the over 200 boxes at the office of the FBI in Memphis.

(8) On November 5, 2004, the defendants filed a joint motion and memorandum to
compel discovery, and attached for the Court’s review the specific discovery requests and responses
from the government as of that date. [Doclcet Nos. 424, 425].

(9) On November 8, 2004, this Court referred the defendants’ discovery motion to the
Hon. United States Magistrate Tu M. Pham. [Docl<et No. 42 8]. The government filed a very brief
response to the l\/lotion to Compel on Novernber 18, 2004. [Docl<et No. 432]. On December 6,
2004, Magistrate Pham entered an Order that the government provide a more specific objection to
each of the defendants’ requests in the motion to compel. [Docket No. 43 8].

(10) The government filed its response on Decenrber 17, 2004, and generally denied the
defendants ’ specific requests for discovery, but did acknowledge the existence of electronic materials
and indicated that those items were presently being duplicated. However, the governrnent’s response
did not provide from where the electronic materials came, the volume of the materials, or when the
defendants might receive a copy or make arrangements to copy the electronic materials [Docl<et No.
447].

(l l) On January 19, 2005, the defendants filed a joint reply to the government’s response
to the defendants’ motion to compel discovery, in Which the defendants detailed to the Magistrate
the history of the case, the issues of the defendants concerning discovery, and asserted that the
govermnent’s supplemental response to the motion to compel still did not adequately address the
specific discovery requests [Docl<et No. 455].

(12) The record reflects that on February 28, 2005, at a hearing concerning pre~trial seizure

of funds, FBI Special Agent Pamela Vanderberg, the case agent in this matter, disclosed that there

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was one box among the some 200 boxes that contained electronic and other materials obtained by
the FBI during the 1996 search in Barbados. The box had never previously been disclosed or made
available to the defense

(13) The record reflects that after learning in February 2005 of the existence of this box
of electronic and other materials seized from Barbados in 1996, the defense made a further request
for copies of these materials The record iin'ther reflects that the government forwarded a letter to
defense counsel on April 4, 2005, stating that a third party contractor was available to copy some of
the electronic materials obtained from Barbados for the defendants at their expense

(14) The government orally informed the Court at the April 15 , 2005 status conference that
it was providing copies of some electronic materials from Barbados to the defendants at the
conclusion of the status conference, and that it was in the process of ascertaining what additional
electronic materials were in its possession and would make a process available for providing copies
of those materials to the defendants

(15) At the status conference of April 15, 2005, the defendants raised several issues
concerning electronic and other discovery that have still not been provided to the defense over two
years after initial discovery requests have been made, and voiced concerns that the copies of
electronic materials that would be provided at the conclusion ofthe April 15, 2005 status conference
and the electronic materials referenced in the govemment’s April 4 letter did not encompass the
entirety of the electronic materials

(16) Given the entirety of the record before the Court, the Court determines that, despite
the defendants’ requests, there remains outstanding discovery, including electronic materials, to

which the defendants are entitled lt has been asserted by the defendants that these electronic

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materials are voluminous, that they consist of more material than what is in the approximately 200
boxes of documents previously made available to the defendants, and that the defendants might not
have an adequate opportunity to review these additional materials, once they are produced by the
government, in time to prepare for what is emricipated to be a several week trial in this case
scheduled to commence on September 6, 2005.

(17) At the conclusion of the status conference of April 15, 2005, and after the Court had
heard from counsel for the defendants and counsel for the government on these issues, the Court
orally directed the prosecution to provide all requested discovery to the defendants within thirty (3 0)
days, and for the government to show cause within ten (10) days as to why it cannot produce the
requested discovery within thirty (3 0) days or any reason why the government feels that compliance
will be problematic [Docl<et No. 491, l\/linute Entry; Transcript of April 15, 2005 hearing].

ln accordance with these tindings, and in accordance with the directives of the Court to the
government announced orally at the status conference in this matter on April lS, 2005, it is hereby
ORDERED that the government, on or before thirty (3 0) days from April 15, 2005, shall provide to
the defendants all requested discovery The government has ten (10) days from April 15, 2005, to
show cause as to why it cannot produce all items requested by the defendants in the time called for

in this Order.

ENTER this ther day of April, 2005, nunc pro tunc to April 15, 2005.

  

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US DISTRICT COURT

